Case 1:04-cv-Ol297-.]DT-STA Document 12 Filed 05/11/05 Page 1 of 2 Page|D 20

 

 

United States District Court n

WESTERN DISTRICT OF TENNESSEE §1§/~????3;% D/ imm

Eastem Division fm UF TN-§A€}§Sg/€I
DEBRA BELL JUDGMENT lN A ClVlL CASE
V.
COMMISSIONER OF SOCIAL
SECURITY CASE NUMBERZ 04-1297-T

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T IS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 05/10/05, the Commissioner's decision to terminate
Ptaintiff's benefits is REVERSED with instructions to reinstate those benefits.

 

 

 

APPROVED:
3 . M
J D. TODD
ED STATES DISTRICT IUDGE
ROBERT R. Di TROLIO
CLERK
5/////)5, BY: ,M%%>
DATE " ' DEPUTY CEERK

This document entered on the docket sheet in compliance

with Rule 53 and/or 79(a) FRCP on I§°lé? ~O§ .

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:04-CV-01297 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

